          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 1 of 14




                              AFFIDAVIT OF DANIEL HELLWIG
       I, Daniel Hellwig, state and declare as follows:
    1. My name is Daniel Hellwig. I am the Laboratory Director of Sorenson Forensics,
       a private forensic laboratory providing forensic DNA casework services for
       federal, state, and local crime laboratories, law enforcement agencies, and courts.
       Sorenson Forensics is an Internationally Accredited ASCLD/LAB (ISO/IEC
       17025:2005) commercial forensic DNA laboratory.
       Education and Experience
    2. I earned a B.S. in biology and chemistry from Viterbo University in La Crosse,
       Wisconsin, in 1997 and a Master's degree in forensic science from Marshall
       University.in Huntington, West Virginia, in 2003. I have twelve years of forensic
       DNA experience and have conducted DNA analysis in approximately 300 cases. I
       have also served as the Forensic DNA Technical Leader of Sorenson Forensics for
       two and a half years, supervising the technical operations of the DNA laboratory.
    3. As the Laboratory Director of Sorenson Forensics, I direct the supervision of
       senior DNA staff members, overseeing a team of thirty-six people. Prior to joining
       Sorenson Forensics in 2009, I worked for several years as a forensic scientist
       performing DNA analysis for both the New Mexico Department of Public Safety
       and the Minnesota Bureau of Criminal Apprehension. I have also worked as an
       instructor of forensic science coursework at New Mexico Highlands University
       and at Santa Fe Community College.
    4. I am a member of the American Academy of Forensic Sciences and the American
       Society of Crime Laboratory Directors. I also previously held membership with
       the International Association for Identification, and as a panel review member of
       the National DNA Identification System. I am certified as an FBI DNA Quality
       Assurance Auditor and as an ASCLD/LAB-International Assessor.               I have


                                                 1




EXHIBIT 10 Page 001
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 2 of 14




       presented at numerous conferences and workshops on forensic DNA analysis
       throughout the United States.
    5. I have been qualified to testify as an expert in forensic DNA analysis in Texas,
       New Mexico, and Utah.
    6. My C.V. is attached to this affidavit.
       Involvement in Obel Cruz-Garcia's Case
    7. Sorenson Forensics was retained in November 2014 by the Office of Capital Writs
       to do a case review of the DNA testing performed by various laboratories,
       including the Houston Police Department (HPD) crime laboratory, Genetic Design,
       and Orchid Cellmark related to Obel Cruz-Garcia's capital trial. For this review,
       we were provided with case files regarding the testing done by the HPD crime lab,
       Genetic    Design,       and   Orchid    Cellmark,   including   reports,   supporting
       documentation, and chain of custody documents.
       DNA Case Review Findings
    8. My review of the materials provided yielded several significant concerns about the
       DNA testing and analysis performed in this case. Had I been retained as an expert
       in forensic DNA analysis at Cruz-Garcia's 2013 capital murder trial, I could have
       provided testimony that would have assisted the judge and the jury in evaluating
       the integrity and significance of the DNA evidence presented at the suppression
       hearing and at trial .
       Chain of Custody Problems
    9. My review of chain of custody documentation raised concerns about the integrity
       of the probative pieces of evidence in this case. Based on my review of chain of
       custody documentation provided by Orchid Cellmark, it appears the evidence bag
       containing -the sexual assault kit that housed the vaginal swabs tested in this case
       was unsealed prior to laboratory processing. The laboratory noted that the "FedEx
       Box" that contained the evidence was sealed, but the sexual assault kit housed
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EXHIBIT 10 Page 002
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 3 of 14




       within that box was unsealed when received by the Orchid Cellmark laboratory.
       Given the extended timeframe between the original HPD/Genetic Design testing
       and the submission of this evidence to Orchid Cellmark- roughly fifteen years-
       the unsealed sexual assault kit raises serious concerns as to the integrity of this
       evidence.
    IO .I also noted that, although the manila envelope containing the cutting from the
       crotch of the red panties was identified as a sealed container, two integral pieces
       within that sealed package were noted as unsealed.         The unsealed envelopes
       contained within this packaged housed the cutting from the crotch of the red
       panties and the liquid blood known sample from Arturo Rodriguez. An unsealed
       known sample housed with an unknown evidence sample is cause for concern and
       calls into question the integrity of this evidence.
       The Mixture DNA Profile Obtained from the Cutting of the Red Panties
    I LA mixture DNA profile was obtained from the sperm cell fraction from the cutting
        of the red panties. At trial, testimony was presented that Obel Cruz-Garcia was the
        major contributor to this mixture and that Arturo Rodriguez could not be excluded
        as the second contributor to the mixture.
    12.In my review, I noted that no statistical evaluation was reported by Orchid
        Cellmark with respect to the inclusion of Arturo Rodriguez in the mixture DNA
       profile obtained from the cutting of the red panties.       In 20 I 0, the Scientific
        Working Group on DNA Analysis Methods (SWGDAM) provided guidelines that
        specifically state that any inclusion (or non-exclusion) must be reported along with
        a statistical weight to aid the trier of fact in the strength of this inclusion. The
        laboratory did not do a statistical calculation on this DNA mixture and, thus,
        should not have included Arturo Rodriguez as a possible contributor to this
        mixture without an associated weight.


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EXHIBIT 10 Page 003
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 4 of 14




    13.Additionally, the DNA mixture obtained from the cutting of the red panties is only
       detected in four of fifteen DNA loci and at a very low level. It is very unlikely that
       any of these would be deemed suitable for statistical analysis and, thus, impossible
       to obtain that statistical weight. It is thus my opinion that the comparison between
       this item and Arturo Rodriguez should have been deemed inconclusive.
    14.Testimony at trial that Arturo Rodriguez was the second contributor to the mixture
       DNA profile obtained from the sperm cell fraction from the cutting of the red
       panties was, therefore, misleading. The second contributor to the mixture should
       correctly have been described as an unknown source.            Based on the genetic
       material recovered, there is insufficient information for a laboratory to conclude
       that Arturo Rodriguez may have been the second contributor.
       The Vaginal Swabs
    15 .Regarding the sperm cell fraction of the vaginal swab, I disagree with the statistical
       weight provided by the Orchid Cellmark report.         When utilizing the statistical
       method used in this analysis, the Combined Probability of Inclusion (CPI), it is
       essential to evaluate the DNA profile obtained to ensure that no allelic dropout
       (DNA information that is "missing" from the profile due to minute amounts of
       input DNA or DNA degradation) has occurred, as this will invalidate the CPI
       statistic. With regards to the sperm cell fraction of the vaginal swab, there are
       several DNA loci (tested locations on the DNA) that appear to be at a low enough
       level that the laboratory should have precluded them from statistical analysis.
       There are even indications of missing allele (denoted by a * in the laboratory
       notes) where the laboratory still improperly utilized this DNA locus for statistical
       analysis.
    16.The SWGDAM guidelines recommend incorporation of a stochastic threshold to
       ensure that no allelic dropout is occurring, thus validating the CPI statistic. It does
       not appear that the laboratory utilized a stochastic threshold in this case.       The
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EXHIBIT 10 Page 004
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 5 of 14




       laboratory chose to preclude the use of only one DNA locus (FGA) from the
       statistical calculation when there are definite questions as to allelic dropout at
       several other DNA loci. Specifically, D21Sll , D7S820, CSFlPO, vWA, TPOX,
       D18S51, D5S818 appear to have either possible alleles below analytical threshold
       or alleles that would fall under typical stochastic threshold for this amplification
       kit.
    17.Additionally, the laboratory provided two separate statistical analyses for this item,
       one for the inclusion of Arturo Rodriguez and another for the inclusion of Obel
       Cruz-Garcia.   It is essential that evaluation of the unknown, evidentiary DNA
       profile occur with no bias from the known samples that will be compared.
       Essentially, an unknown evidentiary profile should be evaluated for suitability for
       comparison as well as statistical analysis before introducing the known, potential
       suspect samples. That appears not to have been the case in this analysis, as the
       statistics were changed for the subsequent inclusion of Obel Cruz-Garcia. This is
       in violation of SWGDAM guidelines, and I disagree with this practice. It is a
       fundamental principle of forensic analysis to do all possible to remove
       interpretational bias toward any individual by analyzing the evidentiary DNA
       profiles previous to and blind to the analysis and subsequent comparison to the
       known sample.      Orchid Cellmark's failure to do so calls into question the
       comparison as well as the statistics generated as a result of this comparison.
       The HPD Crime Lab's Reinterpretation of the Orchid Cellmark Data
    18.In this case, the HPD crime laboratory interpreted data/profiles that were generated
       by the Orchid Cellmark laboratory approximately three years prior to the issuing of
       the HPD report.     This in itself is problematic, given that, as a best scientific
       practice, it is not recommended that a laboratory reanalyze the work of another
       forensic DNA laboratory. The analysis and interpretation of forensic DNA profiles
       should be done utilizing the procedures, protocols, and interpretation thresholds
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EXHIBIT 10 Page 005
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 6 of 14




       (analytical, stochastic, etc.) of the laboratory that processed and created the
       profiles.
    19.In addition to my concerns about Orchid Cellmark's initial interpretation and
       reporting of the DNA profile from the sperm cell fraction of the vaginal swab, I
       also disagree with the HPD reinterpretation of this profile. It is impossible for the
       HPD laboratory to evaluate for stochastic dropout when 1) the original Orchid
       Cellmark data did not appear to use a stochastic threshold in their original
       interpretation and 2) the HPD laboratory does not have a thorough understanding
       of the validation documentation, procedures, and thresholds specific to the Orchid
       Cellmark laboratory processing necessary to accurately reinterpret this profile, as it
       displays data that would likely be within a range of stochastic concerns. It is
       required by accreditation standards that every laboratory must validate the
       instruments, chemistries, and procedures before utilizing them within their
       laboratory.    These lead to laboratory-specific thresholds, procedures, and
       specifications that are applicable to the laboratory itself. Thus, without intimate
       knowledge of and proper adherence to the validated procedures, thresholds, and
       specifications of the Orchid Cellmark laboratory at the time of their interpretation,
       the HPD laboratory would not be utilizing the interpretation that is unique to the
       laboratory that the data was created in and interpreted under.
    20.Additionally, it appears that the HPD laboratory made the decision in its
       reinterpretation of this DNA mixture to exclude a DNA marker (D21Sl 1) in its
       statistical calculations that was originally included by the Orchid Cellmark
       interpretation and included a DNA marker (D19S433) in its statistical calculation
       that was originally excluded by the Orchid Cellmark interpretation. There is no
       provided documentation that explains the reason behind this interpretation decision
       by the HPD laboratory. This is another example of the difficulties that stem from


                                                 6




EXHIBIT 10 Page 006
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 7 of 14




       HPD's reinterpreting data that was not generated at its own laboratory and, in my
       opinion, this was not an appropriate adjustment to the statistical interpretation.
    21.Furthermore, while interpreting the two single source profiles (the cigar and the
       major component of the sperm cell fraction from the panties), the HPD laboratory
       increased the rarity of the profile by including two DNA loci (D2S 1338 and
       D19S433) in its statistical calculation. These were previously not reported in the
       Orchid Cellmark laboratory report. While the inclusion of these two markers in
       the statistics is not necessarily cause for concern, it is still problematic that the
       original laboratory that created the profile did not denote these two markers as
       suitable for comparison (and thus suitable for statistical calculation) in any way.
       The only documentation that noted suitability for statistical calculation within the
       Orchid Cellmark report is the documentation of the statistics that the laboratory
       used, which, in both profiles, did not include these two markers. The HPD report
       assumes that there is n~ concern for utilizing these two markers in the statistical
       calculation. While this may be true; it is impossible to be absolutely certain as,
       again, the Orchid Cellmark laboratory interpreted the profiles in question and did
       not document the suitability of these markers for comparison sufficiently to
       remove any doubt.       This illustrates the difficulties and concerns of HPD's
       interpreting data that was not generated by its own laboratory.
       Conclusions Regarding the DNA Testing Performed in This Case
    22.As stated previously, my review of the materials related to the DNA testing
       performed in this case yielded significant concerns regarding the reliability of the
       evidence tested and some of the conclusions drawn regarding this evidence.
    23 .First, the fact that certain chain-of-custody documents suggest that key pieces of
       evidence- including the sexual assault kit- were received unsealed by Orchid
       Cellmark calls into question the integrity of the physical evidence.                 It is
       furthermore problematic that this documentation shows that a known contributor
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EXHIBIT 10 Page 007
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 8 of 14




       sample~the blood of Arturo Rodriguez- was housed together with an unsealed
       unknown sample. Such practices are against best scientific practice, and call into
       doubt the overall reliability of the evidence handling in this case.
    24.Second, it is my opinion that no conclusion should have been drawn, or could have
       been drawn, about Arturo Rodriguez' s inclusion as a contributor to the DNA
       mixture present on the crotch cutting from the red panties. Based on my review of
       the evidence, there is insufficient information to suggest that Arturo Rodriguez,
       rather than an unknown additional contributor, was the source of the additional
       male DNA sample present on this evidence.
    25. Third, I find the manner in which Orchid Cellmark rendered statistical conclusions
       regarding the DNA sample on the vaginal swabs to be problematic and against best
       scientific practices.     Furthermore, Orchid Cellmark acted in violation of
       SWGDAM guidelines in adjusting its DNA inclusion statistics based on the
       introduction of the known-suspect sample from Obel Cruz-Garcia.
    26.Finally, a host of problems arise from the HPD crime laboratory's decision to
       reinterpret Orchid Cellmark's data, rather than conducting DNA testing anew prior
       to trial.    Such a practice necessarily compromises the statistical and scientific
       validity of the conclusions drawn and presented regarding the DNA evidence in
       this case.
    27.I was available to consult and testify as an expert in forensic DNA analysis at
       Cruz-Garcia's 2013 capital murder trial. Had I been retained, I would have told
       Cruz-Garcia's counsel what is contained in this affidavit and would have testified
       to the same had I been called as a witness.




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EXHIBIT 10 Page 008
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 9 of 14




    28.I have read and reviewed this nine-page affidavit.


       I declare under penalty of perjury under the laws of the State of Utah that the
       foregoing is true and correct to the best of my knowledge and that this affidavit
       was executed on the 2   V of August, 2015 in S.../+ L...l<e_ C,'I~ : 47




       Subscribed and sworn to before me on    ~\:!.*:      :2'.:t     , 2015 .




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EXHIBIT 10 Page 009
         Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 10 of 14


                                   DANIEL S. HELLWIG
                                    SORENSON FORENSICS
                      2511 S. WEST TEMPLE, SALT LAKE CITY, UT 84115
        801-462-1486 • 505-577-1459 (CELL) • DHELLWIG@SORENSONFORENSICS.COM

      EDUCATION

      Bachelor of Science Degree, Viterbo University, La Crosse, Wisconsin, 1997
      Major: Biology/Chemistry

      Masters of Science Degree, Marshall University, Huntington, West Virginia, 2003
      Major: Forensic Science

      WORK EXPERIENCE
      July 2013 - Present
      Lab Director, Sorenson Forensics, Salt Lake City, UT
       Direct supervision of senior DNA staff members
       Manage the evaluation, interview and hiring of potential employees
       Responsible for the operation and oversight of DNA casework operations and personnel
       Budget management and oversight for DNA casework operations
       Provide both in-house and offsite technical training
       Assist with laboratory development consulting projects (Lagos, Nigeria; Dakar, Senegal)
       Consult with law enforcement, prosecutors and other forensic laboratory staff on evidence submission, testing and
           DNA results, conclusions and statistics
       Planning and implementation of technology upgrades, process modification and lean/six sigma quality and
           efficiency projects
       Establishing and maintaining business development relationships with potential partners, vendors and collaborators
           within the forensic community
       Provide and report forensic DNA case reviews for the defense law community

      January 2012 – July 2013
      Associate Lab Director – Operations, Sorenson Forensics, Salt Lake City, UT
       Direct supervision of senior DNA staff members
       Manage the evaluation, interview and hiring of potential employees
       Responsible for the operation and oversight of DNA casework operations and personnel
       Provide both in-house and offsite technical training
       Assist with laboratory development consulting projects (Lagos, Nigeria; Dakar, Senegal)
       Consult with law enforcement, prosecutors and other forensic laboratory staff on evidence submission, testing and
          DNA results, conclusions and statistics
       Planning and implementation of technology upgrades, process modification and lean/six sigma quality and
          efficiency projects
       Establishing and maintaining business development relationships with potential partners, vendors and collaborators
          within the forensic community
       Provide and report forensic DNA case reviews for the defense law community

      June 2009 – January 2012
      Forensic DNA Technical Leader, Sorenson Forensics, Salt Lake City, UT
       Responsible for the technical operation and oversight of DNA analytical operations
       Developed and evaluated all laboratory methods and protocols for forensic DNA casework
       Ensured all technical staff is properly trained on existing and new technical procedures
       Oversaw, participated in and evaluated all in-house forensic validations
       Performed forensic DNA examinations on a variety of evidentiary items and write reports regarding the result of
          that testing
       Responsible for testifying as an expert witness in court
       Provided and reported forensic DNA case review for the defense law community
       Consulted with law enforcement, prosecutors and other forensic laboratory staff on evidence submission, testing
          and DNA results, conclusions and statistics
       Provide both in-house and offsite technical training



EXHIBIT 10 Page 010
          Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 11 of 14


      December 2008 – June 2009
      Professor, New Mexico Highlands University, Las Vegas, New Mexico
       Instructed forensic science related coursework in the Chemistry department of the university
       Developed class curriculum for several forensic science classes
       Assisted the department in their pursuit of a Forensic Science Education Programs Accreditation Commission
          (FEPAC) accredited B.S. Forensic Science degree offering
       Provided forensic DNA case review for the New Mexico defense attorney community

      July 2003 - November 2006; October 2007 - September 2008
      Forensic Scientist - Advanced, New Mexico Department of Public Safety, Santa Fe, New Mexico
       Performed forensic serology and DNA examinations on a variety of evidentiary items and wrote reports regarding
           the results of that testing
       Responsible for testifying as an expert witness in court
       Assisted with validation, development of standard operating procedures and performance checks on various new
           technologies
       Quality assurance and quality control laboratory duties, including FBI DNA quality assurance internal auditing
       Instructed various law enforcement personnel on forensic science and crime scene investigation techniques
       Acted as safety officer of the DNA section

      November 2006 - October 2007
      Forensic Scientist/Crime Scene Investigator, Minnesota Bureau of Criminal Apprehension, Bemidji, Minnesota
       Performed forensic serology and DNA examinations on a variety of evidentiary items and wrote reports regarding
          the results of that testing
       Responsible for testifying as an expert witness in court
       Responded to and processed homicide crime scenes as a member of the Bemidji regional Crime Scene Team.
       Quality assurance and quality control laboratory duties
       Acted as the safety officer for the Bemidji regional laboratory

      January 2004-November 2006
      Part-time Faculty, Santa Fe Community College
       Instructed coursework for Forensic Science I and II
       Responsible for developing and instructing the forensic science curriculum in the Criminal Justice program of the
          college

      May 2002 - August 2002
      Intern, Armed Forces DNA Identification Laboratory, Rockville Maryland
       Assisted with validation and development of several Mitochondrial DNA extraction techniques
       Assisted AFDIL staff in the compilation and reporting of findings for future publication

      COURT TESTIMONY
      •   Qualified as an expert in Forensic Serology/DNA Analysis on multiple occasions in several different jurisdictions
          throughout the state of New Mexico (2004-2008)

      •   Qualified as an expert in Forensic DNA Analysis in the state of Texas (2010, 2014)

      •   Qualified as an expert in Forensic DNA Analysis in the state of Utah (2010-2011, 2014)



      PROFESSIONAL ASSOCIATIONS
      NDIS Panel Member, National DNA Identification System (FBI), 2008
      Member, American Academy of Forensic Sciences, 2001-present
      Member, International Association for Identification, 2001-2003

      CERTIFICATES
      FBI DNA Quality Assurance Auditor                                        March 3, 2006
      ASCLD/LAB-International Assessor                                         March 17, 2006



EXHIBIT 10 Page 011
         Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 12 of 14


      Lean Six Sigma Green Belt Certification                      November 27, 2009
      Six Sigma Black Belt Certification                           July 29, 2013
      US Synthetic Corp.                                           Orem, UT


      TRAINING
      American Academy of Forensic Sciences Annual Meeting
      Chicago, Illinois                                            February, 2003
      New Orleans, Louisiana                                       February, 2005
      Seattle Washington                                           February, 2006
      Seattle Washington                                           February, 2010
      Chicago, Illinois                                            February, 2011
      Washington, DC                                               February, 2013

      Reflective Ultra Violet Imaging System (R.U.V.I.S)           January 26, 2004
      Sirchie Finger Print Laboratories                            Santa Fe, NM


      Basic Forensic Serology                                      February 9-13, 2004
      Serological Research Institute                               Richmond, CA

      ABI Prism 310 Genetic Analyzer/AmpFLSTR training             June 1-4, 2004
      Applied Biosystems Inc.                                      Foster City, CA

      Instructor Development                                       July 12-16, 2004
      Law Enforcement Academy                                      Santa Fe, NM

      ABI 3100 Capillary Electrophoresis, GeneMapper ID
      Data Analysis and Real Time PCR Training Module              June 12-17, 2005
      Marshall University                                          Huntington, WV

      DNA Auditor Training                                         February 20-21, 2006
      Federal Bureau of Investigation                              Seattle, WA

      Decoding DNA: Train the Trainer                              March 8-10, 2006
      Texas Regional Community Policing Institute                  Salt Lake City, UT

      ASCLD/LAB Introduction to ISO/IEC 17025:2005                 March 13, 2006
      Federal Bureau of Investigation                              Stafford, VA

      ASCLD/LAB-International Assessor                             March 13-17, 2006
      Federal Bureau of Investigation                              Stafford, VA

      Court Room Testimony                                         September 27-30, 2007
      Minnesota Bureau of Criminal Apprehension                    St. Paul, MN

      Bode Technologies Technical Workshop - East                  May 19-22, 2008
                                                                   Captiva Island, FL

      Lean Six Sigma Laboratory Efficiency Improvement             August 2009-November 2009
      Sorenson Forensics                                           Salt Lake City, UT
      Presenter: Dirk Hooiman (Lean Six Sigma Master Black Belt)

      SWGDAM Mixture Interpretation Guidelines                     August 5, 2010
      Utah State Bureau of Forensic Science                        Salt Lake City, UT
      Presenter: Bruce Heidebrecht (SWGDAM)

      Microsoft Excel: Beyond the Basics/Advanced Excel            August 11-12, 2010
      Fred Pryor Seminar                                           Salt Lake City, UT




EXHIBIT 10 Page 012
         Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 13 of 14


      Genemapper ID-X User Training                                       November 3-4, 2010
      Sorenson Forensics                                                  Salt Lake City, UT
      Presenter: Catherine Caballero (Forensic Training Network)

      National CODIS Conference                                           November 15, 2010
                                                                          Salt Lake City, UT

      California Association of Criminalists Spring Meeting               May 18, 2011
      DNA Workshop                                                        Long Beach, CA

      Promega Powerplex 18D System Workshop                               June 1-2, 2011
      Promega Campus                                                      Madison, WI

      International Society for Applied Biological Sciences 2011 Meeting June 20-24, 2011
                                                                         Bol, Croatia

      Green Mountain DNA Conference                                       July 25-27, 2011
                                                                          Burlington, VT


      Power to Solve Workshop                                             August 8-9, 2011
      Sorenson Forensics                                                  Salt Lake City, UT
      Promega DNA IQ/Plexor HY/PP16HS/PP18D

      Cold Case Conference                                                September 26-30, 2011
      Vidocq Society/Unified Police Department                            Salt Lake City, UT

      Bullet Proof Manager
      Crestcom Management Training                                        Salt Lake City, UT
      Time Management - The 70 Minute Hour                                November 18, 2010
      Plan Management - Effective Planning: A 7 Step Formula              December 16, 2010
      Customer Loyalty - How to Exceed Customer Expectations              January 20, 2011
      Stress Management - How to Survive and Thrive Under Stress          February 17, 2011
      Negotiation - Negotiating to Win                                    March 17, 2011
      Creativity - Tap the Creativity of Your Team                        April 21, 2011
      Motivation - Increasing Productivity through Motivated People       June 16, 2011
      Employee Recognition - Recognition: The Key to Higher Performance   July 21, 2011

      Louisiana Association of Forensic Sciences Annual Meeting           April 18, 2012
      Louisiana State Crime Laboratory                                    Baton Rouge, LA

      International Symposium on Human Identification
      Nashville, TN                                                       October 15-17, 2012

      Mid-Atlantic Association of Forensic Scientists Annual Meeting      May 6-7, 2013
      Roanoke, VA

      PRESENTATIONS/POSTERS/PUBLICATIONS
      Overview of Forensic DNA Techniques (presenter)                     February 27, 2010
      King County Prosecuting Attorney’s Office                           Seattle, WA

      Y-STR Interpretation and Statistics Workshop (presenter)            April 27-28, 2010
      Onondaga County Crime Laboratory                                    Syracuse, NY

      Lean 6 Sigma Efficiency Improvement Project (team lead)             August 17-18, September 14-15, 2010
      Monroe County Crime Laboratory – Forensic DNA Section               Rochester New York

      Y-Screening: An alternative to Microscopic Examination (presenter)
      Michigan State Police Laboratory Conference, Traverse City, MI     August 20, 2010
      California Association of Criminalists Conference, Long Beach, CA  May 18, 2011




EXHIBIT 10 Page 013
         Case 4:17-cv-03621 Document 12-10 Filed on 10/31/18 in TXSD Page 14 of 14


      Green Mountain DNA Conference, Burlington VT                        July 27, 2011
      Genetic Identity Webinar – Promega @cademy                          August 25, 2011
      Louisiana Association of Forensic Sciences, Baton Rouge, LA         April 18, 2012

      STR Wars: A comparison of Powerplex 16HS and Identifiler Plus       October 12, 2010
      Promega International Symposium on Human Identification (poster)    San Antonio, TX

      Forensic Investigative Law Enforcement Ancestry Test (ILEAD) (presenter)
      Cold Case Summit, Unified Police Department, Salt Lake City, UT     April 25, 2011
      International Society for Applied Biological Sciences, Bol, Croatia June 24, 2011
      Green Mountain DNA Conference, Burlington VT                        July 27, 2011
      Louisiana Association of Forensic Sciences, Baton Rouge, LA         April 18, 2012

      Lean 6 Sigma: Efficiency and Quality Improvement (presenter)        June 1, 2011
      Promega Powerplex 18D Workshop                                      Madison, WI

      Basic Y-STR Interpretation and Statistics Workshop (presenter)
      New York State Police Crime Laboratory, Albany, NY                  September 20-22, 2011
      Monroe & Erie County Crime Laboratories, Syracuse, NY               May 4, 2012

      SWGDAM Mixture Guidelines/Y-STR Interpretation (presenter)          December 13-14, 2011
      Massachusetts State Police Crime Laboratory                         Maynard, MA

      Advanced Y-STR Interpretation Workshop (presenter)
      New York State Police Crime Laboratory, Albany, NY                  April 30, 2012
      Massachusetts State Police Crime Laboratory, Maynard MA             June 25-28, 2012 (2 days, 2 classes)
      Oregon State Police Forensic Lab, Clackamas OR                      January 15, 2013
      West Palm Beach County Sherriff’s office                            July 22-23, 2013

      Y-STR Interpretation and Statistics Workshop (presenter)            May 2, 2012
      OCME, Westchester, Suffolk County, Nassau County Laboratories       Westchester, NY

      Bringing Y-STRs into Your Laboratory (workshop chair/speaker)       October 15, 2012
      International Symposium on Human Identification                     Nashville, TN

      Estimating Genetic Ancestry Using SNP Analysis (presenter)          February 8, 2013
      American Academy of Forensic Sciences Annual Meeting                Washington, DC

      Y-STR Workshop (presenter)                                          May 7, 2013
      Mid-Atlantic Association of Forensic Scientists Annual Meeting      Roanoke, VA

      Forensic DNA 101/Trends in Forensic DNA                             May 13, 2014
      2014 Cold Case Summit, Unified Police Department                    Salt Lake City, Utah

      Y-STR Workshop/SWGDAM Mixture Guidelines/Statistics                 Nov 4-6, 2014
      Metropolitan Nashville Police Department                            Nashville, TN




EXHIBIT 10 Page 014
